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                                       ORIGINAL
                      IN THE IINITED STATES COURT OF FEDERAL CLAINIIS

GERARD L.WEBB,
                          Plaintl亀
                                                         No.18‑1312C
                 V.                                      (」   udgC W01Ski)

UNITED STATES,

                          Defendant.



                               DEFENDANT'S MOTION TO                     DISMISS                :




          Pursuant to Rule 12(bX1) of the Rules of the United States Court of Federal Claims

(RCFC), defendant, the United States, respectfully requests that the Court dismiss plaintiff Gerard

L. Webb's complaint for lack ofjurisdiction. As demonstrated below, this case must be dismissed

because the claim challenging    Mr. Webb's veterans disability benefits falls outside this Court's

jurisdiction, Mr. Webb's claim for back pay for his Army service is barred by the six-year statute

of limitations in light of the fact that Mr. Webb was discharged from the Army in February 2007,

and the complaint fails to sufficiently identify a money-mandating statute or regulation.

         On October 19,2018, Mr. Webb filed a complaint alleging that "pay wasn't sufficient to

cover all options available, Housing pay, subsistence pay, [and] expenses" and indicated that the

nature of this suit was   "military pay-back pay." Compl.       1,   4. Mr. Webb sought 52,608,000.00.           Id.

at   4. On September 14,2018, Mr. Webb filed a copy of an application for correction of military

records, which he had signed on September     5,2018. ECF No. 5. The application indicated that                  he


had been discharged from active duty on February     7   ,2017       .   The error or injustice that he sought to

be corrected in the record was described as "Base Pay from L.F.S.: July 3, 1996-February                   7,2007"

and "Unlimited    Monthly." With leave of Court on September 2I,2018, Mr. Webb                      also filed two




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additional documents that the Court treated as amendments to the complaint. ECF Nos. 6-8. The

first document indicated he was changing the agency identification code for this suit from

Department of Defense to Army, and the amount requested was changed to $362,608,000,000.

The second additional document is a complaint alleging that "pay isn't sufficient to cover all

options available, Housing pay, subsistence pay, [and] expenses." The cover sheet for this

complaint indicates that the agency is the Department of Veterans Affairs (VA) and the nature of

the suit is "civilian pay-back pay," "civilian pay-disability annuity," and "civilian pay-other." Mr.

Webb seeks an "unlimited amount."

         On September 21,2018, the Court ordered Mr. Webb to file a more definite statement. The

Court explained that, "among the initial complaint and the two amendments, the allegations are not

specific enough to enable a meaningful response from the government."l Order       2.   The Court

further explained that, "fa]bsent from this case, however, are any specific allegations conceming

civilian pay eamed (or disability incurred) while in the employ of the United States Department of

Veterans Affairs   (VA). Nor are there any allegations concerning the legal grounds for his claimed

entitlement to back pay for his Army service."2   Id.   Accordingly, the Court ordered him to submit

a   "more definite statement regarding his claims for back pay from the Army andY    A."   Id.

Specifically, the Court required clarifications with respect to "(1) the time period for which Mr.

Webb believes he was underpaid; (2) the statutes or regulations which he contends entitle him to

more pay than he received; and (3) an explanation of why he contends he is owed back pay by the



       I The Court noted that the copy of the application for conection of military records "fills in
some of the gaps, and should be treated as an exhibit to his amended complaint." Order 2.

         2
         The Court also noted that it was not clear whether the difference between the discharge
date (February 7,2017) and the end point for his base pay claim (February 7,2007) was intentional
or a typographical error. Id.
                                                  1
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U.S. Department of Veterans Affaks." Id.

        Subsequently, Mr. Webb filed a more definite statement that indicates he is'bringing a

claim challenging his veterans disability benefits and a claim for back pay for his service in the

Army. ECF No. 9, Sept.       27   ,2018. He   suggests that his veterans disability benefits and military

pay were insufficient to cover his expenses. As demonstrated below, although Mr.'W.bb's more

definite statement does not appear to sufficiently answer all three of the Court's required

clarifrcations, it is clear that dismissal is warranted.

        First, to the extent that Mr. Webb seeks to challenge his veterans disability benefits, this

Court should dismiss the claim. This Court does not possess jurisdiction to entertain challenges to

the VA benefits system.      See    Bargsley v. (Jnited States,l20 Fed. Cl. 619, 633-34(2015); Rose     v.


Unired States, No. 10-224C,2010          WL 4340950, at *3 (Fed. Cl. Oct. 29,2010).

        Second, although Mr. Webb's more definite statement does not adequately address the time

period for which Mr. Webb believes he was underpaid, Mr. Webb's DD Form 214, Certifrcate                of

Release or Discharge from Active Duty, shows that Mr. Webb was discharged in February 2007,

not February 2017   ,   See Def .   Mot. Ex. 1. Accordingly, his claim for back pay for his Army service

is barred by the six-year statute of limitations. The jurisdiction of this Court is set forth in the

Tucker Act, 28 U.S.C. $ 1491, and every claim over which this Court has jurisdiction shall be

baned unless "the petition thereon is filed within six years after such claim first accrues."

28 U.S.C. $ 2501. This statute of limitations is jurisdictional and may not be waived because it

implicates the Govemment's waver of sovereign immunity. Martinez v. United States,333 F.3d

1295,1316 (Fed. Cir. 2003) (en banc); see also Hart v. United States,9l0 F.2d 815, 818-19 (Fed.

Cir. 1990).   'oA cause of action cognizable in a Tucker     Act suit accrues as soon as all events have

occurred that are necessary to enable the plaintiff to bring suit, i.e., when all events have occurred
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to fix the Govemment's alleged liability, entitling the claimant to demand payment and sue here

for his money." Martinez,333 F.3d at 1303 (quotation marks and citation omitted). In the context

of claims seeking back pay, the claim accrues on "the date on which the service member was

denied the pay to which he claims an entitlemenl." Id. at 1314. Accordingly, in light of Mr.

Webb's February 2007 discharge, his back pay claim must be dismissed.

        Third, Mr. Webb fails to sufficiently identify the statutes or regulations which he contends

entitle him to more pay than he received. Thus, the Court does not possess jurisdiction to entertain

the complaint and dismissal pursuant to RCFC 12(bX1) is warranted. Through the Tucker Act,

Congress waived sovereign immunity, "authoriz[ing] certain actions for monetary relief against the

United States to be brought in the Court of Federal Claims." Martinez,333 F.3d at 1302. "The

actions for which the Tucker Act waives sovereign immunity are actions pursuant to contracts with

the United States, actions to recover illegal exactions of money by the United States, and actions

brought pusuant to money-mandating constitutional provisions, statutes, regulations, or executive

orders." Id. at 1302-03 (citations omitted). However, "[t]he Tucker Act does not itself provide the

substantive cause of action; instead, a plaintiff must look elsewhere for the source of substantive

law on which to base a Tucker Act suit against the United States." Id. at 1303 (citations omitted).

A plaintiff must identify and plead an independent contractual relationship, constitutional

provision, federal statute, or executive agency regulation that provides a substantive right to money

damages. As Mr. Webb has failed to sufhciently identify the money-mandating statutes or

regulations on which his complaint his based, his complaint must be dismissed.
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        For these reasons, we respectfully request that the Court dismiss the complaint for lack   of

subj ect matter j uri sdiction.



                                              Respectfu   lly submitted,

                                              JOSEPH H. HI.INT
                                              Assistant Attorney General

                                              ROB




                                              Assistant Director




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octoberJQ,2018                                Attorneys for Defendant
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                         EXHIBIT
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                                 CERTIFICATE OF SERVICE

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placed in the United States mail (first-class, postage prepaid), a copy of "DEFENDANT'S

MOTION TO DISMISS" addressed as follows:


                                      GERARD L.WEBB
                                      70 Eaton Placc No.1
